                                        KML LAW GROUP, P.C.
                                  THE BNY INDEPENDENCE CENTER
                                   701 MARKET STREET SUITE– 5000
                                       PHILADELPHIA, PA 19106
                                         www.kmllawgroup.com

                                               August 10, 2020

Gary J. Imblum Esq.
4615 Derry Street
Harrisburg, PA 17111

RE:     NOTICE OF DEFAULT UNDER COURT APPROVED STIPULATION
        The Bank of New York Mellon as Trustee for CWABS, Inc. Asset-Backed Certificates, Series 2006-
        11 vs. Shelly Mae Dickensheets fka Shelly M Groft fka Shelly Keeney aka Shelly M Dickensheets
        fka Shelly Mae Groft and Daniel N. Dickensheets aka Dan N Dickensheets
        Case No. 19-00983 HWV
        Last 4 Digits of Loan No. 0263

Dear Sir or Madam:

      Please be advised that your client is in default under the terms of the Stipulation that was approved by
the Bankruptcy Court. Under the terms of the Stipulation, your client must cure the default within fifteen (15)
days of this Notice. The amount in default is itemized as follows;

     Regular mortgage payments for the months of February 2020 through April 2020, in the amount of
         $1,027.77 per month;
     Regular mortgage payments for the months of May 2020 through July 2020, in the amount of $1,035.76
         per month;
     Installment payments for the months of February 2020 through June 2020, in the amount of $1,199.44
         per month and $1,199.43 for the month of July 2020;

              The total due is $13,387.22 and must be received on or before August 25, 2020.

     The monthly payment for August, is due as of the 1st day of the month and is not included in the figure
      listed above.

NOTICE TO BORROWER: Please call your attorney with any questions. We are not permitted under the
Rules of Professional Responsibility to speak with you directly.

      Only certified funds, money order, or a check from an attorney trust account will be accepted to
cure the default. Cash or personal checks will not be accepted. If you have proof that payments were made,
fax that proof to our office at 215-627-7734. If payment is not made, we will file a Certification with the
Court and request relief from the Bankruptcy stay.

                                                  KML Law Group, P.C.
                                                  /s/ James C. Warmbrodt Esquire
                                                  James C. Warmbrodt Esquire
                                                  KML Law Group P.C.
                                                  BNY Mellon Independence Center
                                                  701 Market Street, Suite 5000
                                                  Philadelphia, PA 19106
                                                  215-627-1322

cc:     Shelly Mae Dickensheets fka Shelly M Groft fka Shelly Keeney aka Shelly M Dickensheets fka Shelly Mae
Groft Daniel N. Dickensheets aka Dan N Dickensheets
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Case 1:19-bk-00983-HWV   Doc 98-1 Filed 03/11/21 Entered 03/11/21 13:37:50   Desc
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